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                         UNITED STATES COURT OF APPEALS

                                FOR THE TENTH CIRCUIT
                            _________________________________

   SAFE STREETS ALLIANCE; PHILLIS
   WINDY HOPE REILLY; MICHAEL P.
   REILLY,

         Plaintiffs - Appellants,

   v.                                                       No. 16-1048
                                                (D.C. No. 1:15-CV-00349-REB-CBS)
   JOHN W. HICKENLOOPER, in his                              (D. Colo.)
   official capacity as Governor of Colorado;
   BARBARA J. BROHL, in her official
   capacity as Executive Director of the
   Colorado Department of Revenue; JAMES
   BURACK, in his official capacity as
   Director of the Colorado Marijuana
   Enforcement Division; THE BOARD OF
   COUNTY COMMISSIONERS OF THE
   COUNTY OF PUEBLO; PUEBLO
   COUNTY LIQUOR & MARIJUANA
   LICENSING BOARD,

         Defendants - Appellees,

   and

   ALTERNATIVE HOLISTIC HEALING,
   LLC, d/b/a Rocky Mountain Organic;
   JOSEPH R. LICATA; JASON M.
   LICATA; 6480 PICKNEY, LLC;
   PARKER WALTON; CAMP FEEL
   GOOD, LLC; ROGER GUZMAN;
   BLACKHAWK DEVELOPMENT
   CORPORATION; WASHINGTON
   INTERNATIONAL INSURANCE CO.;
   JOHN DOE 1,

         Defendants.
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   STATE OF NEBRASKA; STATE OF
   OKLAHOMA,

          Intervenors.

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   STATE OF WASHINGTON; STATE OF
   OREGON; ROBERT A. MIKOS; SAM
   KAMIN; DOUGLAS A. BERMAN;
   ROBERT J. WATKINS; ALEX KREIT,

        Amici Curiae.
   _______________________________

   JUSTIN E. SMITH; CHAD DAY;
   SHAYNE HEAP; RONALD B. BRUCE;
   CASEY SHERIDAN; FREDERICK D.
   MCKEE; JOHN D. JENSON; MARK L.
   OVERMAN; BURTON PIANALTO;
   CHARLES F. MOSER; PAUL B.
   SCHAUB; SCOTT DECOSTE,

          Plaintiffs - Appellants,

   v.                                                              No. 16-1095
                                                      (D.C. No. 1:15-CV-00462-WYD-NYW)
   JOHN W. HICKENLOOPER, Governor of                                (D. Colo.)
   the State of Colorado,

          Defendant - Appellee.

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   STATE OF WASHINGTON; STATE OF
   OREGON; ROBERT A. MIKOS; SAM
   KAMIN; DOUGLAS A. BERMAN;
   ROBERT J. WATKINS; ALEX KREIT,

          Amici Curiae.
   ________________________________

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   SAFE STREETS ALLIANCE; PHILLIS
   WINDY HOPE REILLY; MICHAEL P.
   REILLY,

         Plaintiffs - Appellants,

   v.
                                                              No. 16-1266
   ALTERNATIVE HOLISTIC HEALING,                  (D.C. No. 1:15-CV-00349-REB-CBS)
   LLC, d/b/a Rocky Mountain Organic;                          (D. Colo.)
   JOSEPH R. LICATA; JASON M.
   LICATA; 6480 PICKNEY, LLC;
   PARKER WALTON; CAMP FEEL
   GOOD, LLC,

         Defendants - Appellees,

   and

   ROGER GUZMAN; BLACKHAWK
   DEVELOPMENT CORPORATION;
   WASHINGTON INTERNATIONAL
   INSURANCE CO.; THE BOARD OF
   COUNTY COMMISSIONERS OF THE
   COUNTY OF PUEBLO; PUEBLO
   COUNTY LIQUOR & MARIJUANA
   LICENSING BOARD; JOHN DOE 1,

         Defendants.
                            _________________________________

                                       JUDGMENT
                            _________________________________

   Before BRISCOE, HARTZ, and HOLMES, Circuit Judges.
                     _________________________________

         This case originated in the District of Colorado and was argued by counsel.




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         It is the judgment of the court that:

         The parties dispute whether Amendment 64 is preempted by the CSA. Our

   conclusions regarding the preemption claims do not require us to reach that question. We

   therefore do not decide whether the CSA preempts any aspect of Amendment 64, or

   Colorado and Pueblo County’s laws or regulations.

         Rather, in No. 16-1266, the district court’s order and its judgment dismissing

   Counts I through VI of the Second Amended Complaint in Safe Streets Alliance are

   AFFIRMED in part and REVERSED in part as follows:

             • The dismissal of the Reillys’ RICO claims against the Marijuana Growers
               premised on one (or more) of the three types of injuries to the Reillys’
               property that were plausibly pled is REVERSED, and those claims are
               reinstated.

             • The dismissal of the Reillys’ RICO claims against the Marijuana
               Growers premised on any other injury is AFFIRMED.

             • The dismissal of Safe Streets’ RICO claims and of the Reillys’
               RICO claims against every other defendant is AFFIRMED.


         In No. 16-1048, the district court’s order and its judgment dismissing with

   prejudice the Reillys and Safe Streets’ preemption claims, Counts VII and VIII of the

   First Amended Complaint in Safe Streets Alliance, are AFFIRMED.

         In No. 16-1095, the district court’s order dismissing with prejudice the Law

   Enforcement Officers’ claims and its judgment in Smith are AFFIRMED.




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         Our order granting Nebraska and Oklahoma’s motion in No. 16-1048 to intervene

   in Safe Streets Alliance is VACATED. Nebraska and Oklahoma’s motions to intervene

   in Nos. 16-1048 and 16-1095 are DENIED.

         Finally, therefore, Counts I through VI of the Second Amended Complaint in Safe

   Streets Alliance are REMANDED for further proceedings consistent with this opinion.




                                              Entered for the Court



                                              ELISABETH A. SHUMAKER, Clerk




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